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                        UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION


 JULIE AMANDA TILTON,

        Plaintiff,

 v.                                                 Case No. 8:05-cv-692-T-30TGW

 DESLIN HOTELS, INC., et. al.,

       Defendants.
 _____________________________________/


                                          ORDER

        THIS CAUSE comes before the Court upon Deslin Hotels, Inc., Irene Devlin, and

 Dennis Devlin’s (the “Deslin Defendants”) Motion to Strike Notice of Filing Deposition

 Transcript of David Barton (Dkt. 269), and Plaintiff’s Memorandum in opposition to the

 same (Dkt. 271). On August 14, 2006, the Court granted the parties’ Stipulated Motion to

 deem discovery conducted in Brietfellar and Gautreaux v. Playboy Entertainment Group,

 et al, Case No. 8:05-cv-405-JSM-TBM, in the United States District Court, Middle District

 of Florida, Tampa Division (“Brietfellar”), to have occurred in this action. As the subject

 deposition transcript of David Barton was filed in its entirety in Brietfellar, it has already

 been deemed to have been filed in this case. The transcript is not new evidence, as argued

 by the Deslin Defendants.
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             It is therefore ORDERED AND ADJUDGED that the Deslin Defendants’ Motion to

 Strike Notice of Filing Deposition Transcript of David Barton (Dkt. 269) is DENIED as

 moot.

             DONE and ORDERED in Tampa, Florida on March 21, 2008.




 Copies furnished to:
 Counsel/Parties of Record
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